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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

  UNILOC 2017 LLC AND UNILOC USA         §
  INC.,                                  §
                                         §
                   Plaintiffs,           §
                                         §   Civil Case No. 2:18-cv-491-JRG-RSP
              v.                         §
                                         §
  GOOGLE LLC,                            §
                                         §
                   Defendant.            §


             DEFENDANT GOOGLE LLC’S MOTION TO DISMISS FOR
                 LACK OF STANDING AND IMPROPER VENUE
                  UNDER RULES 12(B)(1), 12(B)(3) AND 12(B)(6)
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                                                 INTRODUCTION

            Pursuant to Federal Rules of Civil Procedure 12(b)(1), 12(b)(3), and 12(b)(6), Defendant

 Google LLC (“Google”) moves to dismiss the 14 complaints filed by Uniloc 2017 LLC (“Uniloc

 2017”) and Uniloc USA, Inc. (“Uniloc USA”) (collectively “Uniloc”) on November 17, 2018 for

 lack of standing, improper venue, and failure to state a claim for pre-suit indirect infringement.

            Before filing this motion, Google asked Uniloc if it would agree to consolidated briefing on

 venue issues across its 20 pending lawsuits against Google given the common issues and to avoid

 burdening the Court with duplicative filings. Uniloc declined. Accordingly, Google is today filing

 nearly identical papers in Case Nos. 2:18-cv-00491, 00492, 00496, 00499, and 00500. 1 Google

 anticipates filing substantially similar motions in Uniloc’s remaining cases and identifying any

 differences therein to facilitate the Court’s review. Google would welcome any instructions the

 Court might provide concerning how to make the briefing process more efficient for the Court in

 light of the similarity of the issues presented across multiple cases.

            First, Google moves to dismiss the complaints for lack of standing. Uniloc and its related

 entities have so complicated the rights to the asserted patents that they have deprived themselves of

 standing to sue on them. The complaints here name the third (and a subsequent set of complaints

 filed in December 2019, the fourth) permutation of Uniloc entities to sue Google. But Uniloc still

 has it wrong. To the extent Uniloc USA ever had any rights to sue Google, those rights were

 terminated on November 16, 2018. Still, Uniloc USA and Uniloc 2017 brought suit against Google

 the very next day. Moreover, as a result of a complicated web of agreements involving Uniloc 2017,

 its parent company Fortress Credit Co. LLC (“Fortress”), the original Uniloc entity Uniloc

 Luxembourg (“Uniloc Lux”), and CF Uniloc Holdings LLC (“CF Uniloc”), Uniloc 2017 also lacks



 1
     The papers in Case Nos. 2:18-cv-00492 and -00500 have an additional Part IV.C.

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 sufficient patent rights to sue Google. Thus, neither Uniloc entity named as a plaintiff has standing.

         Second, Google respectfully submits venue is not proper in this District. In the divided per

 curiam order declining mandamus review of SEVEN Networks, LLC v. Google LLC, 315 F. Supp.

 3d 933 (E.D. Tex. 2018), the Federal Circuit concluded it was “appropriate” to allow the question

 of venue based on servers in a district to further “percolate in the district courts.” In re Google LLC,

 No. 2018-152, 2018 WL 5536478, at *3 (Fed. Cir. Oct. 29, 2018); see also In re Google LLC, 914

 F.3d 1377, 1379 (Fed. Cir. 2019) (Reyna, J., joined by Newman, J., and Lourie, J., dissenting from

 denial of petition for rehearing en banc due to the “growing uncertainty among district courts and

 litigants as to the requirements of § 1400(b) when conducting business virtually through servers and

 similar equipment in the district”). Since then, Chief Judge Lynn of the Northern District of Texas

 concluded that servers hosted by a third-party do not constitute a “regular and established place of

 business” because “[t]he business conducted from … servers involves ‘electronic communications,’

 which the Federal Circuit specifically stated cannot constitute a place.” CUPP Cybersecurity, LLC

 v. Symantec Corp., C.A. No. 3:18-CV-01554, 2019 WL 1070869, at *2-3 (N.D. Tex. Jan. 16, 2019);

 accord Ex. A, BMC Software, Inc. v. Cherwell Software, LLC, No. 1:17-cv-1074, Dkt. 55 at 3 (E.D.

 Va. Dec. 21, 2017) (owner of servers “does not have a physical place in this district, merely a virtual

 space”). 2 Google respectfully submits that CUPP and BMC were correctly decided, notwithstanding

 this Court’s conflicting decision in Seven Networks, 315 F. Supp. 3d 933 (E.D. Tex. 2018). 3

         Under TC Heartland, venue in a patent case is only proper (1) where the defendant resides,

 or (2) in a district in which the defendant has a regular and established place of business and has

 committed acts of infringement.             Google, which has been organized in Delaware since the



 2
  Emphasis added throughout and citations, internal quotations, and alterations are omitted unless otherwise indicated.
 3
  Google also respectfully submits that Personal Audio, LLC v. Google, Inc., 280 F. Supp. 3d 922 (E.D. Tex. 2017),
 was correctly decided, while recognizing the Court’s express disagreement with that decision in SEVEN Networks.

                                                           2
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 complaints were filed and has its principal place of business in the Northern District of California,

 has never resided in this District. Moreover, Google does not have any place of business in this

 District, much less one that qualifies as “regular and established” under the standards set forth in In

 re Cray Inc., 871 F.3d 1355, 1360 (Fed. Cir. 2017). In fact, even the Google Global Cache edge

 servers (hereinafter referred to as GGC servers) relied upon by Uniloc and in SEVEN Networks to

 support venue are no longer operating in this District—they ceased serving traffic days after Uniloc’s

 November 17, 2018 complaints. And the remainder of Uniloc’s venue allegations are even more

 attenuated: references to services Google administers remotely nationwide, including in this District;

 relationships with third-parties in the District; scattered equipment that may be in the District; and

 contacts outside the District and relevant time period. Nothing in Plaintiffs’ allegations complies

 with the Federal Circuit’s standard in Cray.

        Third, Uniloc’s indirect infringement claims based on pre-suit conduct should be dismissed.

 Uniloc does not even attempt to allege the pre-suit knowledge that is required to maintain such

 claims, contending instead only that “Google will have been on notice” of the asserted patents “since,

 at the latest, the service of this complaint upon Google.” 2:18-cv-00491 Compl. ¶ 97. That is

 insufficient. Uniloc has failed to state a claim for pre-suit indirect infringement.

 I.     STATEMENT OF ISSUES TO BE DECIDED (L.R. CV-7(A)(1))

        1.      Should this case be dismissed under Federal Rule of Civil Procedure 12(b)(1) for lack

 of subject matter jurisdiction because the plaintiffs lack standing to sue?

        2.      Should this case be dismissed under Federal Rule of Civil Procedure 12(b)(3) for

 improper venue over Google in this District?

        3.      Assuming this case is not dismissed in its entirety, should Uniloc’s pre-suit indirect

 infringement claims be dismissed under Federal Rule of Civil Procedure 12(b)(6) for failure to allege

 knowledge of the patents?
                                                    3
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  II.    FACTUAL BACKGROUND

         A.      The Parties

         While Google’s products and services are accessible across the United States, it neither

  resides nor has a place of business in the Eastern District of Texas. Google is an LLC organized in

  Delaware. Ex. B, Orr Declaration (“Orr Decl.”) ¶ 5. Its headquarters and principal place of business

  is in the Northern District of California. Id. ¶ 4. Google does not own or lease “any office space,

  retail space, or other real property in the Eastern District of Texas.” Ex. C, Lim Declaration (“Lim

  Decl.”) ¶ 3. Google has neither offices nor employees at offices in this District. Orr Decl. ¶ 7. Nor

  does Google possess or control any other physical place of business in this District, including where

  GGC servers have been located, or hold itself out as possessing or controlling such places.

         Two Uniloc entities are named as plaintiffs in the 14 complaints addressed by this motion.

  Uniloc 2017 LLC is a Delaware limited liability company. 2:18-cv-00491 Compl. ¶ 1. Uniloc USA,

  Inc. is a Texas Corporation. 2:18-cv-00491 Compl. ¶ 2. Various permutations of Uniloc entities

  (including Uniloc 2017, Uniloc USA, and Uniloc Licensing USA LLC) have sued

  telecommunications and mobile device companies for patent infringement across the country, and

  have previously filed and dismissed several other complaints against Google in this District.

  Meanwhile, the ownership of the patents-in-suit has shifted alongside Uniloc’s changing corporate

  and capital structure. See infra Part III.A.

         B.      The Complaints

         On October 1, 2018, Uniloc 2017 and Uniloc Licensing USA LLC (“Uniloc Licensing”) filed

  four separate complaints against Google. Then, between October 31, 2018 and November 1, 2018,

  Uniloc 2017, Uniloc Licensing, and Uniloc USA filed another 10 separate complaints against

  Google. On November 17, 2018, those initial sets of Uniloc entities dismissed the 14 complaints

  without prejudice and a different set of Uniloc entities—Uniloc 2017 and Uniloc USA—filed 14

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  new complaints against Google on the same 14 patents that were asserted in the earlier complaints.

  Then, in December 2018, Uniloc 2017 by itself filed an additional seven complaints against Google,

  one of which it later dismissed. 2:18-cv-00554, Dkt. 7. In short, over the course of three months,

  Uniloc entities filed 35 lawsuits against Google in this District and dismissed 15, with 20 still

  remaining.

         The 14 separate lawsuits Uniloc filed on November 17, 2018 allege that Google has infringed

  14 different patents through, for example, Google Hangouts, Google Meet, YouTube, Pixel devices,

  and the Google Spectrum Access System. 2:18-cv-00491 Compl. ¶ 83; 2:18-cv-00492 Comp. ¶ 83;

  2:18-cv-00493 Comp. ¶ 83; 2:18-cv-00494 Comp. ¶ 83; 2:18-cv-00495 Comp. ¶ 83. As discussed

  below, all 14 complaints assert the same venue allegations, regardless of the patent asserted or the

  accused technology. See infra Part IV.A.

  III.   PLAINTIFFS LACK STANDING TO SUE

         Standing to sue at the time the suit is filed is a threshold requirement the plaintiff must satisfy

  in every federal action. Sicom Systems Ltd. v. Agilent Techs., Inc., 427 F.3d 971, 975-76 (Fed. Cir.

  2005) (“The party bringing the action bears the burden of establishing that it has standing.”). To

  have standing to bring a patent infringement suit, the plaintiff must suffer an injury-in-fact from a

  violation of its exclusionary rights. Morrow v. Microsoft Corp., 499 F.3d 1332, 1340-41 (Fed. Cir.

  2007). Patents are comprised of a “bundle of rights,” including the right to enforce the patent—i.e.,

  to exclude others from making, using or selling products covered by the patent—and the right to

  license or sublicense the patent. While a patent owner is free to divide and assign this bundle of

  “rights” as it sees fit, “this does not mean that the chosen method of division will satisfy standing

  requirements.” Morrow, 499 F.3d at 1341 n.8. When the division deprives a plaintiff of “substantial

  rights” to the patent, the plaintiff cannot meet the injury-in-fact requirement, and thus lacks standing.

  Id. at 1340-41. If a party lacks standing at the time of filing, the action must be dismissed. Sicom,
                                                     5
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  427 F.3d at 975-976. Neither Uniloc USA nor Uniloc 2017 had standing when the complaints were

  filed and therefore all of the complaints should be dismissed.

          A.       Several Agreements Have Fractured Ownership of the Patents-in-Suit.

          Each of the asserted patents has a complicated assignment history. Many of the patents were

  originally assigned to Philips Electronics entities and eventually acquired by Pendragon Wireless, a

  non-practicing entity. Uniloc Lux acquired nearly all of the asserted patents from Pendragon

  Wireless. While Uniloc Lux eventually assigned the patents to Uniloc 2017, a series of agreements

  between those and other entities fractured the patent rights irredeemably. 4

          In December 2014, Uniloc Lux and Uniloc USA entered into loan agreements with Fortress

  to finance the various Uniloc entities’ patent assertion activities. 5 Ex. D, 3:18-cv-00360-WHA (N.D.

  Cal.), Dkt. 168-4 (“Uniloc Lux-Fortress Agreement”). In exchange, Fortress was granted an

  irrevocable patent license that included the right to grant sublicenses it could use in the event of a

  default by Uniloc. Ex. E, 3:18-cv-00360-WHA (N.D. Cal.), Dkt. 164-2 (“Judge Alsup Order”)

  (citing Unilox Lux-Fortress Agreement §2.1). While that agreement was amended several times and

  terminated in May 2018 (Ex. F, 3:18-cv-00360-WHA (N.D. Cal.), Dkt. 168-19 (“Turner

  Deposition”) at 25:18-22), Fortress—as a result of a number of defaults under the agreements

  described in more detail below—holds the right to grant sublicenses to all of the asserted patents.

          Second, Uniloc Lux purported to assign its patent rights to Uniloc 2017 as of May 3, 2018.




  4
    Google supports its motion with publicly available information obtained from other Uniloc litigation—including
  Uniloc USA, Inc. v. Apple, Inc., No. C 18-00360-WHA (N.D. Cal.), where a motion to reconsider Judge Alsup’s
  decision on a motion to dismiss is pending. Uniloc entities have sought to keep documents related to their corporate
  structure and patent ownership under seal, and documents on which Google relies are partially redacted. As Judge
  Alsup noted, “Uniloc’s manipulations in allocating rights to the patents-in-suit to various Uniloc (possibly) shell
  entities is perhaps designed to insulate Uniloc Luxembourg from any award of sanctions.” Ex. E, Judge Alsup Order
  at 10. Whatever the reason, neither Uniloc 2017 nor Uniloc USA has standing to sue.
  5
    Uniloc 2017 was formed and funded by Fortress to allow Fortress to manage the patent enforcement efforts of the
  Uniloc patent portfolio. Fortress and Uniloc 2017 have overlapping personnel, including the same “authorized person”
  James K. Nobel III, who signed the formation documents for both companies. See Exs. H-I.

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  Ex. G, 3:18-cv-00360-WHA (N.D. Cal.), Dkt. 120 (“Uniloc Ownership History”). That same day,

  Uniloc 2017 entered the first of a series of agreements with Uniloc USA and Uniloc Licensing that

  purportedly gave Uniloc USA the rights to sue for preexisting litigation and Uniloc Licensing the

  rights to sue for future litigation. Id. But Uniloc 2017 terminated both agreements on November

  16, 2018, the day before Uniloc 2017 and Uniloc USA jointly filed the 14 lawsuits at issue in this

  motion. Ex. J, 3:18-cv-03432-JST (N.D. Cal.), Dkt. 36-1 (“Foster Declaration”) at ¶7.

         Third, Uniloc 2017 entered into an agreement with CF Uniloc in May 2018, which granted

  CF Uniloc certain rights that limit Uniloc 2017’s ability to control enforcement and disposition of

  the asserted patents.    Ex. K, 3:18-cv-00360-WHA (N.D. Cal.), Dkt. 168-22 (“CF Uniloc

  Agreement”). Although the CF Uniloc Agreement was amended in November 2018, the specific

  language and date of the amendment are not publicly available. Google is actively seeking further

  information about this and the two other agreements impacting ownership of the asserted patents.

         B.      Uniloc USA Has Never Had Standing to Sue on the Asserted Patents.

         Uniloc USA is a named plaintiff in all 14 lawsuits at issue, but it has never had standing to

  sue. Uniloc USA once held an interest in litigations other than the present actions under a license

  with Uniloc 2017. These interests in separate cases against different parties do not confer standing

  here and, even if they could, were terminated before the present actions were filed.

         First, as noted above, starting on May 5, 2018, Uniloc 2017 entered into a series of licenses

  with Uniloc USA and Uniloc Licensing purporting to give each entity the “exclusive” right to sue

  with respect to the asserted patents. Ex. F, Turner Deposition at 68:19-69:19. Through these two

  licenses, Uniloc 2017 gave overlapping “exclusive” rights to both Uniloc USA and Uniloc

  Licensing. See id. On August 28, 2018, in an effort to address this defect, Uniloc 2017 amended

  the Uniloc USA license to specify that Uniloc USA only had rights related to certain pre-existing

  litigation matters. Ex. G, Uniloc Ownership History. The pending suits against Google, all filed
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  after the August 2018 amendment, fall outside the scope of the preexisting litigation for which

  Uniloc USA still held rights under that amendment. Uniloc USA never had standing to sue Google.

          Second, to the extent Uniloc USA ever had any rights to sue Google, they were extinguished

  when its license from Uniloc 2017 was terminated on November 16, 2018 (see Ex. J, Foster Decl. ¶

  7), purportedly to address standing issues in other pending cases, including suits against Samsung,

  Huawei, Cisco Systems, Microsoft, Verizon, AT&T, ESPN, Hulu, ABC, and Netflix. 6 Despite

  having its license terminated on November 16, however, Uniloc USA was named as one of the

  plaintiffs on the 14 complaints filed against Google the very next day.

          In short, at the time of filing, Uniloc USA had no rights to the asserted patents, and thus lacks

  standing to maintain these suits.

          C.       Uniloc 2017 Does Not Have Standing to Sue Either.

          For two reasons, Uniloc 2017 also lacks standing. First, Uniloc Lux’s prior grant of rights

  to Fortress, including a right to sub-license “following an Event of Default,” vested before Uniloc

  Lux purported to assign the patents to Uniloc 2017. Second, a May 2018 agreement granted CF

  Uniloc rights that limit Uniloc 2017’s ability to control the enforcement and disposition of the

  asserted patents. Either way, Uniloc 2017 cannot maintain this action.

                   1.       Fortress’s Right to Sub-License the Asserted Patents Deprives Uniloc
                            2017 of Standing

          If an accused infringer “has the ability to obtain” a license to the patent “from another party

  with the right to grant it,” then the plaintiff (here, Uniloc 2017) “does not have an exclusionary right

  with respect to the alleged infringer and thus is not injured by the alleged infringer.” WiAV Sols.

  LLC v. Motorola, 631 F.3d 1257, 1265-66 (Fed. Cir. 2010); see also Acceleration Bay LLC v.



  6
   While these lawsuits were filed the same day as the 14 filed against Google, they named Uniloc 2017 alone, and not
  Uniloc USA, in apparent recognition that Uniloc USA lacked standing to sue.

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  Activision Blizzard Inc., No. 16-453-RGA, 2017 WL 3668597, at *3 (D. Del. Aug. 24, 2017).

  Neither a patent owner nor a licensee has standing to sue, no matter what other rights each may hold,

  if it does not have the right to exclude. Morrow, 499 F.3d at 1340-41. That is precisely the case

  here. In 2014, Uniloc Lux entered into a revenue-sharing and patent-license agreement with Fortress

  that granted Fortress rights in Uniloc Lux’s “existing and future acquired Patents,” which includes

  the asserted patents, in exchange for a money loan. Ex. L, Uniloc Lux-Fortress Patent Security

  Agreement at §2(a). As part of the agreement, Fortress was granted an irrevocable license to the

  patents with the right to sub-license, which it was free to exercise “following an Event of Default”

  by Uniloc Lux. Ex. E, Judge Alsup Order at 4, citing Uniloc Lux-Fortress Agreement §2.1. As

  shown below, Uniloc Lux’s repeated defaults have resulted in Fortress obtaining the right to sub-

  license each of asserted patents, depriving Uniloc 2017 of standing.

                        a.      Multiple “Events of Default” Under the Uniloc Lux-Fortress
                                Agreement Have Triggered Fortress’s Right to Sub-License.

         Publicly available information, including a redacted copy of the relevant Uniloc Lux-Fortress

  agreements, discloses multiple defaults. The first set of known defaults relates to Uniloc Lux’s

  failures to meet the revenue covenant of Section 6.2.2 of the Revenue Sharing Agreement, triggering

  Fortress’s right to sub-license. See Ex. D, Uniloc-Lux Fortress Agreement at §6.2.2. The agreement

  has a provision that required Uniloc Lux to reach a specific revenue projection by March 31, 2017.

  Id. Uniloc Lux failed to reach that required revenue projection. Ex. E, Judge Alsup Order at 5; Ex.

  F, Turner Deposition at 66:4-67:6, 68:15-18.

         The agreement also required Uniloc Lux to reach a specific revenue projection by June 30,

  2017. Ex. E, Judge Alsup Order at 5. Again, Uniloc Lux failed to reach the required revenue

  projection. Id.




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         Uniloc Lux’s breach of a covenant requiring correct representations regarding the patent

  portfolio constituted another “Event of Default.” Specifically, under Article IV of the Revenue

  Sharing Agreement, Uniloc Lux represented that none of the patents had been determined to be

  invalid or unenforceable, in whole or in part, and that none was subject to any challenge to validity

  and enforceability. See Ex. D, Uniloc-Lux Fortress Agreement at §4.5. Uniloc Lux made these

  representations when the agreement was first signed on December 30, 2014, and re-affirmed the

  representations when it signed an amendment on May 15, 2017. See Ex. D, Uniloc-Lux Fortress

  Agreement; Ex. M, 3:18-cv-360-WHA (N.D. Cal.) Dkt. 168-17 (“Uniloc Lux-Fortress Third

  Amendment”). As of May 15, 2017, however, at least 7 Uniloc patents had already been found

  invalid or unenforceable, in whole or in part. At the same time, another 13 patents were already the

  subjects of lawsuits and re-examination proceedings. See e.g., Ex. N, 3:18-cv-360-WHA (N.D.

  Cal.), Dkt. 135-30 (“Summary of Uniloc Patent Challenges”). Thus, Uniloc’s May 15, 2017 re-

  affirmation constituted an “Event of Default.”

         Fortress was free to exercise its sublicense rights following any one of these defaults, all of

  which pre-date the complaints at issue.

                        b.      Fortress’s Right to Sub-License Survived Both Uniloc Lux’s
                                Attempt to Cure and the Parties’ Termination of the Agreement.

         While Uniloc Lux and Fortress have attempted to sort out the patent rights through a series

  of amendments and subsequent agreements, Fortress’s right to sub-license persists. Neither the May

  15, 2017 third amendment to their agreement, which Uniloc has asserted cured its defaults, nor the

  May 2018 termination of the agreement revoked that right.

         First, the May 15, 2017 amendment did not cure all of Uniloc’s defaults, nor could it. For

  example, it could not cure a default that did not occur until a revenue milestone was missed a month

  and a half later on June 30, 2017. Separately, Uniloc’s misrepresentations concerning the validity


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  and enforceability of the patents were made in the May 15, 2017 amendment itself. But under the

  original agreement’s terms, an amendment can only cure a default if it is one “which by its express

  terms cures such Event of Default.” Ex. D, Uniloc-Lux Fortress Agreement at §7.3. The May 2017

  Amendment included no such express terms. Ex. M, Uniloc Lux-Fortress Third Amendment. As

  such, there are at least two events of defaults that Uniloc Lux did not cure. 7

          Second, the May 2018 termination of the Revenue Sharing Agreement did not revoke

  Fortress’s irrevocable right to sub-license the asserted patents. Termination of an agreement alone

  does not extinguish an irrevocable license, such as Fortress’s here. See, e.g., Nano-Proprietary, Inc.

  v. Canon, Inc., 537 F.3d 394, 400 (5th Cir. 2008) (“Based upon the unambiguous meaning of

  ‘irrevocable,’ we find that the [license] could not be terminated, notwithstanding a material breach

  of the agreement.”); In re Provider Meds, L.L.C., 907 F.3d 845, 856 (5th Cir. 2018) (explaining that

  the term “irrevocable . . . indicates that the license may not be revoked for any reason”).

                            c.       Fortress’s Right to Sub-License the Asserted Patents Deprives
                                     Uniloc 2017 of Standing.

          Because Fortress has an unfettered right to sublicense the asserted patents—including to

  Google—Uniloc 2017 “does not have an exclusionary right with respect to the alleged infringer

  [Google] and thus is not injured by” Google. WiAV Sols., 613 F.3d at 1265-66. Further, it is

  inconsequential that Fortress may say it has no intention of sublicensing the patents to Google.

  Novartis AG v. Actavis, Inc., 243 F. Supp. 3d 534, 543 (D. Del. 2017) (“While this may establish

  that NPAG might choose not sublicense to, for example, Defendants, Plaintiffs identify nothing that




  7
    In the Apple litigation from which many of the agreements were collected, Judge Alsup relied on the May 15, 2017
  third amendment as evidence that Uniloc Lux cured its defaults. See Ex. E, Judge Alsup Order at 6. That finding is
  the subject of a reconsideration motion and would not be binding on this Court in any event. But even if the third
  amendment cured the March 2017 revenue shortfall occurring before the amendment, that amendment could not cure
  the two other defaults addressed here.

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  deprives NPAG of the legal right to do just that.”). Fortress has obtained and continues to hold the

  right to sub-license each of the asserted patents, and thus Uniloc 2017 does not have standing to sue.

                 2.      Uniloc 2017’s Agreement with CF Uniloc Also Deprives Uniloc 2017 of
                         Standing.

         A second agreement also strips Uniloc 2017 of the rights it would need to bring suit. After

  termination of the Fortress revenue sharing agreement, Uniloc 2017 granted CF Uniloc rights

  limiting Uniloc 2017’s ability to control the enforcement and disposition of the asserted patents. For

  example, Uniloc 2017 cannot “sell, lease, transfer, or otherwise dispose of” its patents without CF

  Uniloc’s written consent. Ex. K, CF Uniloc Agreement at 7.1(d). Nor can Uniloc 2017 settle any

  litigation unless CF Uniloc, in its sole discretion, provides written consent. See Ex. E, Judge Alsup’s

  Order at 8. Further, Uniloc 2017 must pay all maintenance fees for all patents, and cannot elect to

  discontinue payment without written consent of CF Uniloc. Ex. K, CF Uniloc Agreement at

  4.9a. As such, Uniloc 2017 no longer has sufficient interests and rights in the patents to have

  standing to sue. See Simcom Sys. Ltd. v. Agilent Techs. Inc., 427 F.3d 971, 980 (Fed. Cir. 2005)

  (finding Simcom did not have all substantial rights to patent-in-suit as it had to receive prior written

  consent to settle litigation and to sublicense or assign its rights.); Azure Networks, LLC v. CSR PLC,

  771 F.3d 1336, 1347 (Fed. Cir. 2014), vacated on other grounds, 135 S. Ct. 1846 (2015); Enhanced

  Security Research, LLC v. Juniper Networks, Inc., 2010 WL 2898298 (D. Del. July 20, 2010).

         In sum, both Uniloc 2017 and Uniloc USA lack the necessary standing to bring suits against

  Google alleging patent infringement of the asserted patents. All 14 complaints must be dismissed.

         D.      If the Court Does Not Dismiss, The Case Should Be Stayed Pending Standing
                 Discovery.

         Based on the publicly available facts, Uniloc cannot meet its burden to prove it has standing

  to bring any of the lawsuits filed against Google. Thus, the Court should dismiss all of those

  complaints. But, at a minimum, the public facts show that standing is in significant doubt. Thus, if

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  the Court declines to dismiss (on either standing or venue grounds), Google respectfully requests

  that it be allowed to take immediate discovery into Uniloc’s standing and that all other proceedings

  be stayed to resolve this threshold issue before additional resources are expended unnecessarily.

  IV.    VENUE IS NOT PROPER IN THE EASTERN DISTRICT OF TEXAS.

         In a patent case, venue is proper only “in the judicial district where the defendant resides, or

  where the defendant has committed acts of infringement and has a regular and established place of

  business.” 28 U.S.C. § 1400(b). “[T]he Plaintiff bears the burden of establishing proper venue.” In

  re ZTE (USA) Inc., 890 F.3d 1008, 1013 (Fed. Cir. 2018). Uniloc acknowledges that Google is

  organized in Delaware with a principal place of business in Mountain View, California. 2:18-cv-

  00491 Compl. ¶ 4. Therefore, under TC Heartland LLC v. Kraft Foods Group Brands LLC, 137 S.

  Ct. 1514, 1521 (2017), Google does not reside in this District for purposes of the patent venue statute.

  Moreover, as explained below, Uniloc cannot meet its burden to establish that venue is proper under

  the “regular and established place of business” prong of the patent venue statute.

         A.      Google Has No “Regular and Established Place Of Business” In This District.

         In Cray, the Federal Circuit explained that for a defendant to have a regular and established

  place of business in a district: “(1) there must be a physical place in the district; (2) it must be a

  regular and established place of business; and (3) it must be the place of the defendant.” 871 F.3d

  at 1360. It also cautioned courts applying this test to “be careful not to conflate showings that may

  be sufficient for other purposes, e.g., personal jurisdiction or the general venue statute, with the

  necessary showing to establish proper venue in patent cases.” Id. at 1361.

         The first requirement of the Cray test, a physical place, is just that: “a building or a part of a

  building set apart for any purpose” or “quarters of any kind.” Id. at 1362 (citation omitted). The

  Federal Circuit emphasized that the statute “cannot be read to refer merely to a virtual space or to

  electronic communications.” Id. Rather, there must be a “physical, geographical location in the

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  district from which the business of the defendant is carried out.” Id. Moreover, that business must

  be carried out by employees or agents of the defendant physically present at the place of business.

  This is confirmed by the patent service statute, which “presumes that a defendant with a ‘place of

  business’ in a district will also have ‘agents conducting such business’ in that district.” Peerless

  Network, Inc. v. Blitz Telecom Consulting, LLC, 2018 WL 1478047, at *4 (S.D.N.Y. Mar. 26, 2018)

  (quoting 28 U.S.C. § 1694).

         The second requirement, that the physical place of business be “regular and established,”

  means that the business “operates in a steady, uniform, orderly, and methodical manner” and that

  the place where that business is carried out is “settled certainly, or fixed permanently.” Cray, 871

  F.3d at 1362-63. “[W]hile a business can certainly move its location, it must for a meaningful time

  period be stable, established.” Id. at 1363.

         The third requirement is that the alleged place of business be a “place of the defendant.” Id.

  “Relevant considerations include whether the defendant owns or leases the place, or exercises other

  attributes of possession or control over the place.” Id. “Marketing or advertisements also may be

  relevant, but only to the extent they indicate that the defendant itself holds out a place for its

  business.” Id. For example, if a defendant “lists the alleged place of business on a website, or in a

  telephone or other directory; or places its name on a sign associated with or on the building itself,”

  that could support a finding that this requirement is met. Id. at 1363-64.

         All three requirements must be met to establish that Google has a “place of business” in this

  District. Id. at 1362. None of Uniloc’s many venue allegations meet these three requirements.

                 1.      GGC Servers Hosted by Third-Party ISPs Do Not Give Rise to a
                         “Regular and Established Place of Business” in this District.

         Google acknowledges that the Court is not writing on a blank slate when it comes to GGC

  servers, which form the backbone of Uniloc’s venue allegations. 2:18-cv-00491, Compl. ¶¶ 20, 32-


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  34. In Personal Audio, Judge Clark of this District held that Google’s GGC servers did not create a

  “regular and established place of business” in view of the factors identified by the Federal Circuit in

  Cray. 280 F. Supp. 3d 922, 925, 932-35 (E.D. Tex. 2017). In reaching that result, Judge Clark

  explained that “conclud[ing] that Google’s business was being carried out by these servers would

  have far-reaching consequences that distort the scope of the statute; for example, every single AT&T

  tower would then possibly become a place of business for AT&T.” Id. at 934. The SEVEN Networks

  decision acknowledges that it contradicts Personal Audio on identical facts. 315 F. Supp. 3d at 950.

  And after a divided Federal Circuit panel declined mandamus review of SEVEN Networks, finding

  it “appropriate to allow the issue to percolate in the district courts,” Google, 2018 WL 5536478, at

  *3, Chief Judge Lynn in the Northern District has since agreed with Personal Audio that servers at

  a third-party’s data center do not constitute a “regular and established place of business.” CUPP,

  2019 WL 1070869, at *2-3; see also Ex. A, BMC, No. 1:17-cv-1074, Dkt. 55 at 5-6 (E.D. Va. Dec.

  21, 2017) (“rent[ing] a server rack from a third party” does not establish a “place of the defendant”).

  Google respectfully submits that the majority position is the correct one.

                         a.      GGC Servers Are Not Places of Business and None Are Still
                                 Operating in This District.

         GGC servers are just one part of a tiered network of computer infrastructure that allows

  Google to quickly and reliably deliver content to Internet users. The core of this network is Google’s

  data centers, which provide computation and backend storage. Ex. O, McCallion Declaration

  (“McCallion Decl.”) ¶ 3. There are a handful of Google data centers in the U.S.—none in Texas.

  Id., Ex. C, Lim Decl. ¶ 5. The next tier of Google’s network infrastructure is known as “Edge Points

  of Presence” (“PoPs”), which connect Google’s network to the rest of the Internet. Ex. O, McCallion

  Decl. ¶ 4. Google has no PoPs in this District. Id.




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         The last tier of the network consists of the GGC servers or “edge nodes.” Ex. O, McCallion

  Decl. ¶ 5. Local Internet Service Providers (“ISPs”) host GGC servers at the ISPs’ own facilities.

  Id. ¶ 6. If an ISP chooses to host a GGC server, then portions of certain digital content that is popular

  with the ISP’s subscribers can be temporarily “cached” on that GGC server, relieving the ISP of the

  need to use medium or long-haul network capacity to fetch the content from outside its network. Id.

  GGC servers are not necessary for the delivery of Google content to users. Id. at ¶ 5.

         GGC servers are not computers made by Google; rather, they are off-the-shelf computers

  made by third-party manufacturers and typically shipped directly to ISPs by third parties. Ex. O,

  McCallion Decl. ¶ 9. After receiving the GGC servers, the ISP unpacks, locates, installs, and hosts

  them in its own facility. Id. Google does not own, lease, or control the space where the servers are

  kept. Id. ¶ 10. No Google employee has ever seen or visited the servers in this District. Id. Indeed,

  Google does not have rights to physically access the spaces in which the GGC servers are stored

  while its service agreements with the ISPs are in force. Id. ¶ 12. And those service agreements may

  be terminated “at any time” for the convenience of either party. Id.

         In fact, the GGC servers that were located in this District ceased serving traffic on November

  23, 2018, just six days after the third set of Uniloc entities refiled the first wave of complaints

  (asserting infringement of 14 patents). Ex. O, McCallion Decl. ¶ 13. The servers that were used in

  this District represented only a fraction of one percent of Google’s total serving capacity in the

  United States. Id. ¶ 7. The absence of GGC servers serving traffic in this District did not cause any

  disruption to the delivery of content to users.         Notwithstanding SEVEN Networks’ contrary

  conclusion, GGC servers cannot meet any of the Cray requirements, let alone all of them.

                         b.      GGC Servers Are Not “Physical Places” Of Business.

         Apart from SEVEN Networks, every decision to address servers has held that they do not

  constitute a physical place of business as required under Cray. GGC servers are “‘hardware,’ the
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  physical electronic equipment used to operate the internet,” as opposed to “‘places’ under the

  meaning of the statute,” and “therefore cannot establish a regular and established place of business

  in this district.” Personal Audio, 280 F. Supp. 3d at 934 (holding GGC servers are insufficient to

  establish venue). BMC similarly held that “[s]ervers are not real property; they are personal property.

  To the extent the servers provide ‘space’ from which a business may operate, any such space would

  be virtual space and virtual space explicitly fails the Cray test.” Ex. A, BMC at 4. Most recently, in

  CUPP, the Northern District held that servers are not a “place” because the “business conducted”

  by servers “involves electronic communications, which the Federal Circuit specifically stated cannot

  constitute a place.” CUPP, 2019 WL 1070869, at *3.

         The facts here bear out these general principles. Google and ISPs enter Service Agreements,

  not leases, for the maintenance of GGC servers at facilities the ISPs own. Ex. O, McCallion Decl.

  ¶¶ 10, 12. In these Service Agreements, ISPs agree to provide rack space, power, network interfaces,

  and IP addresses for the servers, as well as remote assistance and installation services. Id. ¶ 12. The

  agreements therefore concern the provision of services by the ISPs, not real estate, and they do not

  give Google any control over physical space. Indeed, the agreements expressly put the ISPs in

  control of physical access to the equipment. Id. The only time at which the agreements authorize

  Google employees to enter the ISPs’ premises is if the agreements are terminated. Id. And the only

  rights Google has over the GGC servers’ physical location concern its ability to consent to changes

  that would affect the services it has contracted for, such as the ISP’s relocation of a server after the

  ISP originally installed the server at a location the ISP’s choosing. Id. ¶ 11.

         Even if the GGC servers could be said to take up some amount of physical space, they are

  not “places of business” under Cray. Servers are pieces of equipment—like slot machines or

  vending machines—not places where employees conduct business—such as an office, storefront or



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  factory. HomeBingo Network, Inc. v. Chayevsky, 428 F. Supp. 2d 1232, 1250 (S.D. Ala. 2006)

  (“That an individual may be a part owner of a piece of equipment (in this case, a slot machine)

  located in a judicial district does not render the situs of that equipment his regular and established

  place of business for venue purposes.”); Magee v. Coca-Cola Refreshments USA, Inc., 833 F.3d 530,

  534 (5th Cir. 2016) (finding “vending machines are not ‘sales establishments,’” and defining

  “establishment” as “a place of business or residence with its furnishings and staff”). “The servers

  themselves are not places from which [Google] conducts its business.” CUPP, 2019 WL 1070869,

  at *3. That is particularly true given that the servers simply cache and transfer electronic data. Ex.

  O, McCallion Decl. ¶ 6. The venue statute “cannot be read to refer merely to a virtual space or to

  electronic communications from one person to another.” Cray, 871 F.3d at 1362. 8

          The SEVEN Networks decision likened Google’s GGC servers to warehouses. 315 F. Supp.

  3d at 948. But unlike GGC servers, a warehouse is real property staffed by employees of the

  business. With respect for the Court’s prior decision, Google submits a closer (though by no means

  perfect) analogy for a GGC server, which temporarily “caches” popular content for users, is a storage

  locker. But courts have found storage lockers do not qualify as places of business. See Regents of

  Univ. of Minn. v. Gilead Scis., Inc., 299 F. Supp. 3d 1034, 1043 (D. Minn. 2017) (“Court is not

  persuaded that these relatively small storage lockers … constitute a sufficiently regular and

  established physical foothold of Gilead in Minnesota”); CDx Diagnostic, Inc. v. U.S. Endoscopy

  Grp., Inc., No. 13-CV-5669(NSR), 2018 WL 2388534, at *3 (S.D.N.Y. May 24, 2018) (storage units



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    SEVEN Networks concluded that the level of control exercised by Google in the physical world establishes that the
  physical presence of GGC servers in this District constitute more than “merely” a virtual space or electronic
  communications. 305 F. Supp. 3d at 933. Google respectfully submits that the level of control discussed in SEVEN
  Networks is not borne out by the Service Agreements and that, in any event, a server fundamentally facilitates
  electronic communications in connection with a virtual space. While electronic communications and virtual spaces
  necessarily require physical hardware, that does not make physical hardware “physical places of business.” Id. at 950.
  Moreover, the fact remains that Google has no access to the physical space where the servers are stored. Ex. O,
  McCallion Decl. ¶ 12.

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  are not a “place of business” because “no employee or agent of Defendant actually conducts business

  at the storage units”). Moreover, servers, unlike warehouses and storage lockers, do not store

  physical objects; they share electronic data, precisely what Cray held was insufficient under §

  1400(b). 9 GGC servers are neither physical places nor places of business under Cray.

                             c.       There Is Nothing “Regular and Established” About GGC
                                      Servers.

           Even if GGC servers located on third-party ISPs’ server racks were sufficient to meet Cray’s

  first requirement of a “physical place of business,” that place of business must be “regular and

  established.” Cray, 871 F.3d at 1360. A regularly operating business means one that “operates in a

  steady, uniform, orderly, and methodical manner,” while an “established” place means “settled

  certainly, or fixed permanently.” Id. at 1362-63. But here, GGC servers simply store or “cache”

  popular digital content on a temporary basis, and cannot operate independently of a Google data

  center located out of the District. Ex. O, McCallion Decl. ¶¶ 5-6. Google data may move through

  GGC servers, but Google does not “regularly” conduct business from server racks in third-party

  facilities. See Peerless, 2018 WL 1478047 at *3-4 (finding “equipment … involved in processing

  calls to and from New York-based phone numbers” stored on a shelf at a third-party facility was not

  a “regular and established place of business”).

           Nor are the GGC servers “established” within Cray’s meaning. The ISPs are contractually

  authorized to move the GGC servers to different locations with Google’s consent, which

  demonstrates the impermanent nature of the GGC servers’ placement. Ex. O, McCallion Decl. ¶ 11.

  Moreover, the contract can be terminated “at any time” for the convenience of either party. Id. ¶ 12.


  9
    Nor does the fact that Congress made clear that ATMs are not regular and established places of business demonstrate
  that servers are. Cf. SEVEN Networks, 315 F. Supp. 3d at 962-64. Rather, Congress addressed the question presented
  to it by industry lobbyists seeking clarity as to particular pieces of machinery. In any event, a bank’s branded ATM,
  which requires leasing or owning specific real property to serve customers visiting that physical location is a far cry
  from an anonymous server in an ISP’s data center that is only accessed remotely via electronic communications.

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  In fact, the handful of GGC servers that were previously active in this District ceased serving traffic

  shortly after Uniloc filed the 14 pending suits on November 17, 2018. The fact that personal property

  designed to temporarily hold electronic data is stored on the shelf of a third party under an agreement

  that can be terminated by either party at will is insufficient to establish that Google has a

  “permanently fixed” “place” in this District. Cray, 871 F.3d at 1363.

                         d.      The ISP Facilities Hosting GGC Servers Are Not the “Place of”
                                 Google.

         To satisfy Cray’s third requirement—“that ‘the regular and established place of business’

  must be ‘the place of the defendant’”—the “defendant must establish or ratify the place of business”

  in question. Cray, 871 F.3d at 1363. “Relevant considerations include whether the defendant owns

  or leases the place, or exercises other attributes of possession or control over the place.” Id. To

  begin, GGC servers are not places; they are things. ISPs install, store, and maintain them. Ex. O,

  McCallion Decl. ¶¶ 9, 12. No Google employee ever even saw the GGC servers in question. Id. ¶

  10. The servers were shipped by a third-party to the ISP, who set them up, determined where they

  would be placed, and then supplied power, network interfaces, and IP addresses to the servers. Id.

  ¶¶ 9, 12.

         As for the only places possibly at issue—the real estate where the GGC servers sit—

  Defendants neither own nor lease the ISP facilities. The ISPs agree to “provide” “rack space” for

  the equipment, which is located “in the Host’s” facilities—physical property locations owned or

  leased by the ISP. Ex. O, McCallion Decl. ¶ 12. For an ISP merely to provide rack space for

  equipment—at a physical place of the ISP’s choosing—does not give Google a “lease” or control

  over the space in which the servers sit. In fact, Google does not even have physical access to—much

  less control over—the rooms holding the racks and servers. The racks are in the host’s facilities and

  Google does not have a key. Id. The contract only grants Google access if the agreement is


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  terminated and the ISP fails to deliver the servers to Google. Id. Then, and only then, may Google

  enter any premises of a host where such equipment is located during normal working hours. Id.

           Other “[p]otentially relevant inquiries” in determining whether a location is a “place of

  business” of the defendant “include whether the defendant lists the alleged place of business on a

  website, or in a telephone or other directory; or places its name on a sign associated with or on the

  building itself.” Cray, 871 F.3d at 1363-64. Google has done none of those things. There is no

  Google “sign” or other indication on any ISP-owned or leased facility containing GGC servers that

  the facility is a place of business of Google. 10 Finally, courts may consider “the nature and activity

  of the alleged place of business . . . in comparison with that of other places of business of the

  defendant in other venues.” Id. at 1364 (emphasis in original). GGC servers are located in many

  judicial districts in the country, while the GGC servers in this District constituted a fraction of one

  percent of the total serving capacity of Google’s network in the U.S. Ex. O, McCallion Decl. ¶ 7.

  On the other hand, actual Google facilities, such as its offices and data centers, are found in far fewer

  locations, and none are located in the District. Id. ¶ 3; Ex. C, Lim Decl. ¶¶ 3-5. GGC servers cannot

  provide a legally sufficient basis for venue under Cray.

                    2.       Uniloc’s Remaining Venue Allegations Fare No Better in Locating a
                             “Regular and Established Place of Business” in This District.

           Uniloc attempts to supplement its GGC server allegations with a variety of Google services

  and relationships (including past relationships) that it claims establish a “regular and established

  place of business” in this District. None passes the Cray test.


  10
     Both SEVEN Networks and Uniloc’s complaint point to Google Maps noting that ISPs deploy GGC servers in their
  network in certain metro areas in this District, suggesting that this constitutes a ratification of the ISP’s location as
  Google’s place of business. See SEVEN Networks, 315 F. Supp. 3d at 966 & n.51; Compl. ¶ 22. But as Google’s
  website explains, GGC servers are deployed by network operators and ISPs (independently owned and operated
  businesses), not Google. See https://peering.google.com/#/infrastructure (compare with Google’s language regarding
  Data Centers that Google “operates”). Rather than associating itself with a specific place of business, such as an ISP,
  Google refers generally to the scope of its network infrastructure. In fact, the places identified on Google’s website
  are not even the locations of the ISPs, but rather the airports closest to the servers.

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                            a.      Google Fi and Google Voice

          Uniloc points to Google’s “wireless phone services called Google Fi” that Google provides

  to its customers “for cities such as Tyler and Marshall, TX.” 2:18-cv-00491 Compl. ¶ 35. But

  Google Fi is a Mobile Virtual Network Operator (“MVNO”), a cellular service provider that

  contracts to resell services from a cellular carrier’s network (AT&T, T-Mobile, Verizon or Sprint).

  Google Fi is not a “physical place of business,” such as “a building or a part of a building,” but is

  instead a service provided to Google users. Google Fi relies on cellular towers of other companies

  to transmit data; Google does not own any cell towers in this District. 11 Ex. P, Arscott Declaration

  (“Arscott Decl.”) ¶ 4; see supra Part IV.A.1.d.2.a (describing how MVNO services work). Google

  does not have any exclusive rights to use the cell towers. Ex. P, Arscott Decl. ¶ 4-5. And Google

  has no say as to where the towers are located or how they are operated. Id. ¶ 5. Thus, the Google

  Fi service fails at each step of the Cray test.              It consists of the transmission of “electronic

  communications,” not a “physical place of business.” Cray, 871 F.3d at 1362. Because Google

  neither owns the cell towers, nor has any say over where the cell towers are located or how they are

  operated, the towers cannot be a “regular and established” place of business for Google. Id. at 1362-

  63. And the fact that Google does not own, lease or exercise control over the place of the cell towers

  means the cell towers used by Google Fi have not been established or ratified by Google as a place

  of business. Id. at 1363.

          As for Google Voice, Uniloc simply alleges that Google provides “telephone services to

  residents in this District” through the service by allowing individuals to select local numbers. 2:18-

  cv-00491, Compl. ¶ 65. This says nothing of a physical place of business, that is regular and



  11
    Moreover, as Personal Audio recognized, holding that “every single AT&T tower” is “a place of business for
  AT&T” would distort the scope of the statute.” 280 F. Supp. 3d at 934. Of course, Google does not even own the cell
  towers here; AT&T and other carriers do.

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  established, and/or ratified by Google. Providing digital telecommunications services to residents

  within a district, such as internet or telephone services, from a physical place outside the district

  does not qualify as a regular and established place of business. See Cray, 817 F.3d at 1362

  (explaining that the patent venue statute “cannot be read to refer merely to a virtual space or to

  electronic communications from one person to another.”).

                           b.       Third-Party “Megaport” Facilities and GCI

          Uniloc points to two Google Cloud platform services: Google Cloud Interconnect (“GCI”)

  and Direct Peering. GCI and Direct Peering allow direct or very fast access to the Google Cloud

  network and Google servers. Ex. Q, Cha Declaration (“Cha Decl.”) ¶¶ 3, 8. Uniloc alleges that

  “Google equipment at Megaport’s facilities which provide the GCI and Direct Peering Services” are

  “fixed geographical locations”; “regular and established” because they operate in a “steady, uniform,

  orderly and methodical manner”; and “of the defendant” because Google holds contractual and/or

  property rights to use the space and maintain equipment. 2:18-cv-00491, Compl. ¶ 49. The facts

  are otherwise.

          First and foremost, Megaport is not Google—it is a different company. Second, there is no

  “Google equipment at Megaport’s facilities,” as Uniloc asserts. Megaport acts as an intermediary

  between Google and other companies using GCI and Direct Peering services. Ex. Q, Cha Decl. ¶¶

  6, 8. Companies can run a fiber line directly into the facilities of intermediaries like Megaport. Id.

  ¶¶ 6-7. The intermediary then transfers data between the company and Google servers at PoPs,

  described above, that are located outside of this District. Id. ¶¶ 4-5. Google does not own any

  portion of Megaport or own or lease any of Megaport’s facilities. Id. ¶ 8. 12 Nor does Google provide

  any equipment to Megaport, or maintain or locate any of its equipment at Megaport to facilitate


  12
    Megaport also does not own any facilities in the District, but rather has a relationship with another company—
  CyrusOne—that does. Ex. Q, Cha Decl. ¶ 10. Google has no more connection to CyrusOne than Megaport. Id. ¶ 11.

                                                         23
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  Megaport’s connectivity capabilities. Id. Google simply has no presence in, or connection with

  Megaport that would establish a “regular and established” place of business of Google under Cray. 13

                             c.       Repair Centers

           Uniloc alleges that Google Pixel phone owners can bring or mail broken devices to repair

  centers operated by uBreakiFix and Cynergy. 2:18-cv-00491 Compl. ¶¶ 51-55. Google does not

  own, own an interest in, or manage uBreakiFix or Cynergy, which are independent, third-party

  companies. Nor does uBreakiFix exclusively repair Google products. Instead, it acts as a national

  repair service for many phone manufacturers, including Apple and Samsung.                                           See

  https://www.ubreakifix.com/company/about. Google does not own or lease space at uBreakiFix.

  Moreover, Google has no property or inventory at uBreakiFix. All replacement parts are owned by

  uBreakiFix without any control by Google. As for Cynergy, Uniloc points to a facility in Grapevine,

  Texas (2:18-cv-00491 Compl. ¶ 55), which is located in the Northern District—not this District. The

  fact that Google directs device owners to another separate, independent business for repair services

  does not establish that the repair center locations are Google’s place of business. Cf. Cray, 871 F.3d

  at 1363 (“it must be the place of the defendant … not solely a place of the defendant’s employee”).

                             d.       Other Google Services

           Uniloc points to various nationwide services as evidence of venue in this District, including

  Google Maps functionality; G-Suite services and Google Software-as-a-Service applications

  available through Google Cloud; and Waze’s collection of traffic data. 2:18-cv-00491, Compl. ¶¶

  56, 62-63, 64, 66, 78. These allegations amount to Google offering online services and collecting

  data via applications used by consumers nationwide, including within the District, but that does not



  13
    Indeed, in the personal jurisdiction context, it is clear that the forum contacts of one company cannot be imputed to
  an entirely separate company. See Rush v. Savchuk, 444 U.S. 320, 332 (1980) (the requirements of personal
  jurisdiction “must be met as to each defendant”). If the contacts of a third party do not suffice for personal
  jurisdiction, they a fortiori do not suffice for venue. See Cray, 871 F.3d at 1361.

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  make the Google application a Google place of business in this District. See SEVEN Networks, 315

  F. Supp. 3d at 951, n.26 (dismissing idea that “every handheld device sold by Verizon would become

  a place of business for Verizon” as “clearly … too far afield from the statutory text”). 14

          The same goes for Google Express. See 2:18-cv-00491, Compl. ¶¶ 59-60. Google Express

  is a service that connects online users to popular retail stores to order the retailers’ goods. Ex. R,

  Krause Declaration (“Krause Decl.”) ¶ 4. Shoppers in this District can use Google Express, but

  Google has no employees, factories, warehouses, storage facilities or delivery fleets in the District

  to operate the delivery service. Id. ¶ 5. Absent any physical Google property—real or personal—

  in the District, Google Express cannot constitute a regular and established place of business under

  Cray.

                            e.       Operations Outside the District and Pre-Suit

          Uniloc also includes allegations regarding Google’s “Presence in the State,” irrespective of

  district. 2:18-cv-00491 Compl. ¶¶ 67-78. For example, Uniloc identifies Google Fiber services

  provided to residents in Austin and San Antonio, Texas, both of which are outside of this District.

  Id. ¶ 74. Google has also provided the State of Texas with aerial imagery and has digitized

  collections of books from public libraries, including the library at the University of Texas, Austin.

  Id. ¶¶ 76-77. Again, there is no connection to this District and certainly none sufficient to support

  Google having a “regular and established place of business” in this District.

          Similarly, Uniloc points to office space and real estate that either are outside of this District

  or were closed by Google years before the complaints were filed. Uniloc points to land purchased

  in Midlothian, Texas, Google offices in Austin, Texas, and an investment in a wind farm project in

  Oldham County, Texas. 2:18-cv-00491 Compl. ¶¶ 68, 70-71, 75. But all of these properties are


  14
    For example, although individuals can use Google Maps on their personal devices while in this District, Google
  does not base or have any Street View cars dedicated to operate exclusively in the District.

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  located outside the District. Google’s activities outside the District have no bearing on whether

  Google should be subject to venue within the District. And while Uniloc alleges that Google leased

  office space in Frisco, Texas from April 2012 to December 2013 (id. ¶ 61), “[c]ourts determine

  venue under § 1400(b) by the facts and situation as of the date the suit is filed.” Godo Kaisha IP

  Bridge 1 v. Intel Corp., No 2:17-cv-00676-RWS-RSP, 2018 WL 5728524, at *2 (E.D. Tex. Aug. 29,

  2018); accord Personal Audio, 280 F. Supp. 3d at 931. Thus, the canceled lease on the office space

  in this District years before the lawsuit was filed has no bearing on whether venue is proper in this

  case.

          Finally, Uniloc alleges that since 2007, Google has employed “hundreds” of employees in

  Texas. 2:18-cv-00491 Compl. ¶¶ 69, 72. This vague allegation, even if true, is insufficient to show

  that Google has a regular and established place of business specifically within the Eastern District

  of Texas. And Uniloc does not present any evidence suggesting otherwise.

          In sum, Google does not have any “place of business” in the Eastern District of Texas, much

  less one that qualifies as “regular and established” under the standards the Federal Circuit set forth

  in Cray. None of the allegations set forth by Uniloc in its complaints support an argument otherwise.

          B.     Uniloc Cannot Establish a Nexus Between Alleged Acts of Infringement and
                 Google’s Purported “Regular and Established Place of Business.”

          Beyond showing that a defendant has a regular and established place of business, courts have

  also required plaintiffs to identify a relationship between that place and the alleged acts of

  infringement. See Scaramucci v. FMC Corp., 258 F. Supp. 598, 602 (W.D. Okla. 1966) (“there must

  be some reasonable or significant relationship between the accused item and any regular and

  established place of business of the accused in the judicial district”); see also Jeffrey Galion, Inc. v.

  Joy Mfg. Co., 323 F. Supp. 261, 266-67 (N.D. W. Va. 1971). While SEVEN Networks concluded

  otherwise, that requirement is consistent with statutory history of the patent venue statute, see Cray,


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  871 F.3d at 1361 (noting § 1400(b)’s predecessor was passed to ensure “[j]urisdiction would not be

  conferred by ‘[i]solated instances of infringement’ but ‘only where a permanent agency is

  established’”), but essential if the “regular and established place of business” prong is interpreted so

  broadly as to confer venue in any District a defendant’s equipment is found or services used.

         Uniloc’s fusillade of complaints illustrates this perfectly. As shown in the chart below, of

  the 14 patents asserted and technologies accused in the November complaints, none is related to any

  more than two of Uniloc’s questionable venue allegations, most are related only to the most

  questionable of those allegations (e.g., web-based services accessible in the District or third-party

  facilities), and half of the venue allegations are unrelated to any case:

                         Google   Google                                  Texas                  Services
                GGC                         Repair    Google   Google              G-Suite
                          Fi /    Cloud /                                  Real                 (imaging;
               Servers                      centers   Maps     Express             Services
     Patent              Voice    Peering                                 Estate              books; Fiber)
   6,473,114    NO        NO        NO        NO       NO        NO           NO      ?           NO
   6,952,450     ?        NO        NO        NO       NO        NO           NO     NO           NO
   6,836,654    NO        NO        NO         ?       NO        NO           NO     NO           NO
   6,285,892    NO        NO         ?        NO       NO        NO           NO     NO           NO
   7,016,676    NO        NO        NO        NO       NO        NO           NO     NO           NO
   6,349,154    NO        NO        NO         ?       NO        NO           NO     NO           NO
   6,329,934     ?        NO         ?        NO       NO        NO           NO     NO           NO
   6,980,522    NO        NO         ?        NO       NO        NO           NO     NO           NO
   8,194,632     ?        NO        NO         ?       NO        NO           NO     NO           NO
   6,519,005    NO        NO         ?        NO       NO        NO           NO     NO           NO
   6,452,515    NO        NO         ?        NO       NO        NO           NO     NO           NO
   8,407,609     ?        NO        NO        NO       NO        NO           NO     NO           NO
   9,141,489    NO        NO         ?        NO       NO        NO           NO     NO           NO
   8,949,954    NO        NO        NO         ?       NO        NO           NO     NO           NO

  Absent a nexus requirement, allowing plaintiffs to establish venue based on a presence as attenuated

  as those alleged here “could essentially reestablish nationwide venue, in conflict with TC Heartland,

  by standing for the proposition that owning and controlling computer hardware involved in some

  aspect of company business (e.g., transmitting data) alone is sufficient,” Google, 914 F.3d at 1381

  (Reyna, J., dissenting from denial of petition for rehearing en banc), regardless of whether the

  asserted patent has anything to do with that computer hardware.



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  V.      ALTERNATIVELY, THIS ACTION SHOULD BE TRANSFERRED TO THE
          NORTHERN DISTRICT OF CALIFORNIA

          Where venue is improper, as it is here, the district court “shall dismiss, or if it be in the

  interest of justice, transfer such a case to any district or division in which it could have been brought.”

  28 U.S.C. § 1406(a). Should the Court determine that it is in the interest of justice to transfer these

  cases for lack of venue rather than dismissing them, Google requests that the Court transfer the cases

  to the Northern District of California “because ‘witnesses, evidence, the underlying events, and [the

  defendant] are based there.’” See Moran v. Smith, No. 5:15-cv-1121-DAE, 2016 WL 4033268, at *2

  (W.D. Tex. July 27, 2016) (quoting Herman v. Cataphora, Inc., 730 F.3d 460, 466 (5th Cir. 2013)).

  Specifically, (1) the case could have been brought in the Northern District of California as Google

  has a “regular and established place of business” in Mountain View, California, the location of its

  headquarters; (2) almost all the relevant evidence and witnesses are in California, including

  potentially relevant Google employees; and (3) the lawsuits “call[] into question the work and

  reputation” of Google and its employees that conduct business in the community, which gives the

  Northern District of California a unique interest. In re Hoffmann-La Roche Inc., 587 F.3d 1333,

  1336 (Fed. Cir. 2009). Google will also be filing separate motions to transfer under 28 U.S.C.

  § 1404(a), elaborating on why transfer to the Northern District of California is appropriate.

  VI.     CLAIMS OF PRE-SUIT INDIRECT INFRINGEMENT SHOULD BE DISMISSED
          FOR FAILURE TO ALLEGE KNOWLEDGE OF THE ASSERTED PATENT

          Both induced and contributory infringement require knowledge of the patent allegedly

  infringed. See Corydoras Techs., LLC v. Apple Inc., No. 2:16-CV-00538-JRG, 2016 WL 9242435,

  at *1 (E.D. Tex. Nov. 23, 2016) (induced infringement claim “necessarily includes the requirement

  that [defendant] knew of the patent”); Babbage Holdings, LLC v. Activision Blizzard, Inc., Civ. No.

  2:13-750-JRG, 2014 WL 2115616, at *2 (E.D. Tex. May 15, 2014) (dismissing claims for induced

  and contributory infringement based on failure to plausibly allege knowledge). Uniloc does not even

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  attempt to allege pre-suit knowledge, 15 instead claiming only that “Google will have been on notice

  of the [asserted patents] since, at the latest, the service of [the] complaint[s].” 2:18-cv-00491 Compl.

  ¶ 97. Thus, Uniloc has failed to allege facts plausibly supporting the knowledge required for a claim

  of indirect infringement based on pre-suit conduct and such claims should be dismissed.

                                                    CONCLUSION

           For these reasons, the Court should dismiss this action for lack of subject matter jurisdiction

  or for improper venue, or transfer it to the Northern District of California.


   Dated: April 19, 2019                                          Respectfully submitted,

                                                                  By: /s/ Krista S. Schwartz, with permission by
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  15
     In case 2:18-cv-00502, Uniloc alleges that “Google has been on notice of the application leading to the ’609
  Patent.” Compl. ¶ 101. But it is axiomatic that knowledge of an application is insufficient to provide notice of a later
  issued patent. As the Federal Circuit explained: “Filing an application is no guarantee any patent will issue and a very
  substantial percentage of applications never result in patents. What the scope of claims in patents that do issue will be
  is something totally unforeseeable.” State Indus., Inc. v. A.O. Smith Corp., 751 F.2d 1226, 1236 (Fed. Cir. 1985).

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                                   CERTIFICATE OF SERVICE

         The undersigned hereby certifies that all counsel of record who are deemed to have
  consented to electronic service are being served with a copy of this document via the Court’s
  CM/ECF system per Local Rule CV-5(a)(3) on April 19, 2019.
                                                       /s/ Michael E. Jones




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